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                          Exhibit B
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    Carnival Corporation Environmental Performance Metrics and Targets Overview
    I.        Introduction

    Carnival continuously develops and evolves its tracking and reporting of a broad variety of
    environmental performance metrics and initiatives. At the corporate level, these performance metrics
    and initiative status updates are communicated to management through the corporate monthly
    Maritime Operations Dashboard and the quarterly HESS, Technical, Regulatory and Sustainability
    Report, as well as occasional ad hoc reports.

    II.       Overview of select internally-tracked metrics

    Our current primary focus with respect to performance metrics has been monitoring the rate and
    severity of environmental regulatory violations, violations of Company policy, and other events over
    time as a means to determine if our compliance initiatives are effective or not. We break down these
    violations into categories as follows:

             Oil/grease/sludge
             Sewage
             Other water (e.g., ballast water, pool water, grey water, AAQS (EGCS) washwater)
             Non-refrigerant airborne
             Solid waste (food)
             Solid waste (non-food) items lost overboard
             Chemical discharges
             Refrigerant airborne emissions
             Environmental records issues
             Near miss events, such as contaminants found in the food waste discharge system

    We track and report most violation metrics on a quarterly basis, aligned with our fiscal quarters which
    end in February, May, August and November. What follows are examples of the metrics we have in
    place regarding the first six listed environmental regulatory violations above as well as a written
    summary of our ECP year two performance for each category. We are limiting the examples to the first
    six categories for brevity.


    Oil/grease/sludge

    In our HESS, Technical, Regulatory and Sustainability Report, we trend the total number of reported oil
    incidents per ship over a 12 quarter period (regardless of severity), include commentary on our
    performance trend, call out events defined as major (meaning those related to the misuse of the bilge
    system, seal failures of propulsion / thruster / stabilizer systems, or oil disposal via other waste stream
    processing / discharge systems) and provide a description of the major events. Charts are provided at
    both the corporate level and the brand level. The corporate-level chart and commentary from our FY
    2Q2019 report follows:




                                                         1
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                                  Reported MARPOL Annex I (Oil) Discharge Incidents per Ship
                                Last 12 Quarter Trend with Trendline - Carnival Corporation & plc
                                                          Total        Major
        0.30

        0.20

        0.10

        0.00
                3Q16     4Q16     1Q17    2Q17     3Q17       4Q17     1Q18    2Q18   3Q18     4Q18     1Q19     2Q19
    Total #        4        8       6        8       24           21    21      13      15       26       26      29
    Major #        1        1       0        2        3            5     4       3       2        1        3       4

    We believe the increasing trend line in total reported MARPOL Annex I incidents (now suggesting a
    quarterly rate of ~0.28 incidents per ship, or one per ship per year) reflects an improved transparency
    and sensitivity to reporting any and all oil leaks since many of the recently reported events involve the
    loss of very small amounts of oil or oil-based paint. Of the 25 events classified as not major in the
    second fiscal quarter of 2019, six involved the loss of drops of oil from equipment hydraulic leaks, five
    involved the loss of small amounts of oil-based paint, five involved offloaded oil or sludge leaking from
    the shore to the water due to contractor errors, six involved leaks of more than a few drops from
    lifesaving equipment or platform operations and the remaining three events involved various other
    issues.

    A written summary of our ECP Year 2 performance in this area follows:

    There have been no intentional oil discharges since the beginning of the probation period. There were
    88 regulatory violations of MARPOL Annex I reported in the second year of probation. 87.5% of the
    events were classified as ‘minor’ typically involving small volumes of less than 1 liter, most often a few
    drops. Sources were hydraulic line failures of lifeboat systems, shell doors or davits/cranes, spillage of
    small amounts of oil-based paint, or third party failures during bunkering. 12.5% of the events were
    considered ‘major’. Most were due to technical failures, typically of oil-to-sea-interface system seals.
    To help address the risks associated with some of the ‘major’ events described above, the Company uses
    biodegradable oil in some thruster, stern tube, and stabilizer seals, including ships that operate under
    the U.S. Environmental Protection Agency’s Vessel General Permit Program (unless it is technically
    infeasible to do so). While this does not eliminate the regulatory risk, it does reduce the environmental
    impact.


    Sewage

    In our HESS, Technical, Regulatory and Sustainability Report, we trend the total number of reported
    improper sewage incidents per ship over a 12 quarter period (regardless of severity), call out MARPOL
    violations separate from Company policy violations and provide a description of the MARPOL violation
    events. Charts are provided at both the corporate level and the brand level. The corporate-level chart
    from our FY 2Q2019 report follows:




                                                          2
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                               Reported MARPOL Annex IV & Regulatory Discharge Incidents per Ship
                                 Last 12 Quarter Trend with Trendline - Carnival Corporation & plc
         0.20
         0.15
         0.10
         0.05
         0.00
                3Q16     4Q16     1Q17    2Q17     3Q17       4Q17   1Q18    2Q18    3Q18     4Q18     1Q19      2Q19
   Total #        2        3         0      1        13        5       0       5        2        1        3       3

    A written summary of our ECP Year 2 performance in this area follows:

    There were 10 regulatory violations reported in the second year of probation. Regulatory violations
    represented approximately 0.009% (compared to 0.03% in the first year of probation) of the total
    amount of sewage discharged fleet-wide.


    Other water

    In our HESS, Technical, Regulatory and Sustainability Report, we trend the total number of reported
    other water stream incidents by type per ship over a 12 quarter period (regardless of severity/ violation)
    and provide descriptions of significant events. A chart is provided at the corporate level. A recent
    corporate-level chart data reflecting regulatory violations and commentary follows:
                                 Reported Pool Water Discharge Regulatory Violations per Ship
                                       Last 12 Quarter Trend - Carnival Corporation & plc
         0.20
         0.15
         0.10
         0.05
         0.00
                3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19 2Q19
Pool Water #     0    0    0    0    0    1    3    0    3    3    1    2


                                 Reported Grey Water Discharge Regulatory Violations per Ship
                                      Last 12 Quarter Trend - Carnival Corporation & plc
         0.20
         0.15
         0.10
         0.05
         0.00
                3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19 2Q19
Grey #           0    0    0    0    0    3    1    2    2    1    0    0




                                                          3
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                           Reported AAQS Washwater Discharge Regulatory Violations per Ship
                                    Last 12 Quarter Trend - Carnival Corporation & plc
            0.20
            0.15
            0.10
            0.05
            0.00
                   3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19 2Q19
AAQS WW #           0    0    0    0    0    0    0    0    6    2    0    0

                             Reported Ballast Water Discharge Regulatory Violations per Ship
                                    Last 12 Quarter Trend - Carnival Corporation & plc
            0.20
            0.15
            0.10
            0.05
            0.00
                   3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19 2Q19
Ballast #           0    0    0    1    0    1    1    1    0    1    0    2


                      Reported Technical Water/Other Water Regulatory Violations per Ship
                               Last 12 Quarter Trend - Carnival Corporation & plc
            0.20
            0.15
            0.10
            0.05
            0.00
                   3Q16 4Q16 1Q17 2Q17 3Q17 4Q17 1Q18 2Q18 3Q18 4Q18 1Q19 2Q19
Tech/Other #        0    0    0    0    0    1    0    0    1    1    0    1

    The most common other water regulatory violations reported in Q2 2019 involved pool water (2) and
    ballast water (2). Most events reflected a violation of Company policy versus a regulatory violation as
    well as a small volume of discharged water.

    A written summary of our ECP Year 2 performance in this area follows:

    Of the 25 regulatory violations of other water events in the second year of probation, eight involved
    Advanced Air Quality System wash water, seven involved swimming pool water, five involved grey
    water, three involved ballast water and two involved treated bilge water.

    Most of the Advanced Air Quality System events were short-term in nature and caused by unintended
    operation of the system due to automation or the failure of system monitoring equipment which is
    required for continuous monitoring, but may have short term exceedances or even failures without an
    overall non-compliance with the IMO guidelines. Two of the events involved planning and
    communication errors that resulted in the short-term operation of the systems in marine sanctuaries,
    where the discharge of Advanced Air Quality System wash water is currently restricted by request of
    NOAA.


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    The Company is actively working toward providing a software solution to support simpler and less error
    prone voyage and environmental planning activities for ship officers.


    Non-refrigerant Airborne

    In our HESS, Technical, Regulatory and Sustainability Report, we trend the total number of reported
    non-refrigerant airborne emission incidents per ship over a 12 quarter period (regardless of severity).
    Descriptions of other (local) regulatory violations are not provided for brevity as they are reported on a
    weekly basis via the HESS “Flash” report. Charts are provided at both the corporate level and the brand
    level. A recent corporate-level chart of regulatory violations follows:

                       Reported Non-Refrigerant Emission Regulatory Violations per Ship - Last 12
                               Quarter Trend with Trendline - Carnival Corporation & plc
        0.20
        0.15
        0.10
        0.05
        0.00
                3Q16     4Q16     1Q17    2Q17     3Q17       4Q17   1Q18     2Q18    3Q18     4Q18     1Q19      2Q19

   Total #         8       9        1        7       19        4       0        9       16       12       5        5

    A written summary of our ECP Year 2 performance in this area follows:

    There were 40 regulatory violations reported in the second year of probation. 80% of the events
    resulted from the short-term use of non-compliant fuel in an emission-controlled area or zone either
    due to a failure to correctly follow procedure, a failure of ship’s equipment, or the inadvertent supply of
    non-compliant fuel. In ECP year 2, these events accounted for less than 0.03% of the ~225,000 hours of
    Advanced Air Quality System running time and less than 0.003% of the 2.3M hours of total engine
    running time fleet-wide. Most of the events were related to the operation of Advanced Air Quality
    Systems, which are fitted post-ship delivery, and some are not yet fully integrated into the ships’
    integrated alarm systems. The Company is actively working to better integrate this new technology into
    existing alarm systems.


    Solid waste (food)

    In our HESS, Technical, Regulatory and Sustainability Report, we trend the total number of reported
    improper food (MARPOL Annex V) discharge incidents per ship over a 12 quarter period (regardless of
    severity), call out violations caused by passengers and third parties separate from crew/ship-caused
    violations and provide a description of the crew/ship-caused events. Charts are provided at both the
    corporate level and the brand level. The corporate-level chart from our FY 2Q2019 report follows:




                                                          5
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                             Reported MARPOL Annex V (Food) Discharge Incidents per Ship
                                   Last 12 Quarter Trend - Carnival Corporation & plc
        0.30

        0.20                                                      Excluding passenger/
                                                                                                                     Total
        0.10

        0.00
                3Q16     4Q16       1Q17      2Q17      3Q17          4Q17      1Q18         2Q18    3Q18        4Q18        1Q19   2Q19

   Total #         1         2         3         2           14         5          3          12          22          6        5     13
W/exclusions       1         2         2         2           13         4          1           5           2          0        2      2



    Solid waste (non-food items)

    In our HESS, Technical, Regulatory and Sustainability Report, we report the total number of reported
    non-food (MARPOL Annex V) incidents in the quarter by casual factor, including intentional versus
    accidental events. We also trend the total number of reported improper non-food incidents per
    100,000 person days over past quarterly periods (regardless of severity) and call out violations caused by
    passengers separate from crew. We further trend the total number of reported improper non-food
    (MARPOL Annex V) incidents per ship over past quarterly periods where weather / inadequate stowage
    or mechanical failure was a causal factor in the loss. Charts are provided at both the corporate level and
    the brand level. Content from our FY 2Q2019 report follows:

    Of the 395 MARPOL Annex V (Non-food) solid item incidents reported in the quarter, 117 of them
    involved the accidental dropping of a personal item by passengers, 96 involved the accidental dropping
    of a personal item by crew, 67 involved items deliberately dropped or thrown overboard by passengers,
    61 involved objects falling into the water after becoming dislodged due to heavy weather or wind, 34
    involved mechanical failures, and 19 involved stevedore carelessness. The final incident involved non-
    compliant disposal of solid grill scrapings.
                              Non-Food Solid Item Discharge Incidents by Cause Q2 2019
                        Accidental overboard (Passengers)                   Accidental overboard (Crew)
                        Intentional Passenger Action                        Heavy weather or wind - inadequate stowage
                        Mechanical failure                                  Stevedore carelessness
      0%        10%          20%        30%            40%            50%         60%          70%             80%           90%    100%

                       30%                              24%                            16%                 15%                9%    5%


    The following chart shows the reported MARPOL Annex V (Non-Food) incident rate trend for the
    Corporation for incidents caused by passengers and crew (accidental or intentional) over the last five
    quarters, expressed as incidents per 100,000 person days:




                                                                  6
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                        Reported MARPOL Annex V (Non-Food) Discharge Incidents per 100,000 person
                                  days - Last 6 Quarter Trend - Carnival Corporation & plc

            2.00
            1.50                                                                 Crew

            1.00
            0.50
            0.00                                                                        Passenger
                      1Q18            2Q18             3Q18            4Q18              1Q19           2Q19

 Passenger #            40             106              188             152               196            189
 Crew #                 48              88               94             130               115            117


    The following chart shows the reported MARPOL Annex V (Non-Food) rate trend for the Corporation for
    incidents caused by weather/inadequate stowage or mechanical failure over the last five quarters,
    expressed in incidents per ship:

                             Reported MARPOL Annex V (Non-Food) Discharge Incidents due to
                                weather/inadequate stowage or mechanical failure per Ship
                                     Last 6 Quarter Trend - Carnival Corporation & plc
            1.00

                                                       Weather / inadequate stowage
            0.50

                                                                                   Mechanical failure
            0.00
                      1Q18            2Q18             3Q18            4Q18              1Q19           2Q19

 Weather #              18              17              40              41                64             61
 Mech. Fail. #           9              17              26              32                29             34

    A written summary of our ECP Year 2 performance in this area follows:

    There were 1,409 reported regulatory violations (per Company policy to report all items as MARPOL
    Annex V violations). Many of these events involved the loss of a personal item such as a hat, driver’s
    license, room key or pair of sunglasses, or the accidental loss of a work items such as a VHF radio, a
    hardhat or a cleaning brush or squeegee.

            48% of the events were caused by passengers (~ one event per every 130,000 passenger-days).
            31% of the events involved crewmembers accidentally dropping an item (~ one event per every
             70,000 crewmember-days).
            17% of the events involved items being blown or otherwise lost overboard due to inadequate
             stowage or mechanical failure, typically due to heavy weather and wind.
            The remaining 3% of the events were due to stevedore mishandling of items.

    The Company continues efforts to reduce the risk of items being lost overboard through proactive audio
    and visual passenger communication campaigns, crew training and the adoption of hardhat chin straps,
    radio/ID card lanyards and more secure cleaning equipment. CCL recently initiated a fine for passengers
    smoking outside of designated smoking areas. CCL will also put a similar fine in place for passengers
    throwing things overboard. Other brands are considering similar options.




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    Bilge water generation

    In additional to regular monitoring of environmental regulatory compliance performance, we also track
    and trend the results of initiatives designed to reduce our risk of making errors. Bilge water generation
    reduction is one of these areas. Efforts are underway to reduce the volume of bilge water ships
    accumulate across the fleet as part of the Company’s overall compliance and risk mitigation strategy. In
    the Company’s fiscal year 2018, the average daily bilge water produced across the fleet was reduced 5%
    relative to the prior year, representing a combined reduction of 2.7 million gallons of bilge water. The
    Company has further reduced by 14% the average daily water produced by the fleet during the first two
    quarters of fiscal year 2019 relative to the same period during the prior year. The Company tracks the
    implementation of the bilge water reduction effort which has a target completion date on December
    2021. The Company also tracks the bilge water generated by each ships. Brand data is shown below.


                        Daily bilge water generation volume by brand Q1-Q2 2019
                                                                                                              Q1-Q2 2019 versus
                                          Q1-Q2 FY19           Q1-Q2 FY18                                        Q1-Q2 2018

             P&O                                                                           7.0                      -10%
                                                                                                 7.8
     COSTA ASIA                                                              5.9                                    -6%
                                                                                 6.3
       COSTA EU                                                             5.8
                                                                                6.3                                 -8%

             CUN                                                     5.3
                                                                                                       8.8          -39%

             PCL                                             4.6
                                                                   5.1                                              -10%
             CCL                                             4.6
                                                                         5.6                                        -18%
             HAL                                             4.6
                                                                     5.3                                            -14%
             POA                                             4.5
                                                                                 6.1                                -25%
             SBN                                         4.3
                                                                           5.7                                      -24%
            AIDA                               3.1
                                             2.9                                                                    +6%
           CORP                                                4.7
                                                                         5.5                                        -14%

                   0       1       2       3         4         5           6           7         8     9     10



    AAQS availability / usage / compliance

    The Company leads the maritime industry in the development and implementation of Advanced Air
    Quality Systems (also known as exhaust gas cleaning systems) for marine use. These systems remove
    sulfur compounds and particulate matter from engine exhaust, both of which can be harmful to human
    health, resulting in significantly cleaner air emissions. The Company’s Advanced Air Quality Systems
    utilize an open loop design, which involves the use of a seawater spray to remove sulfur from engine
    exhaust, converting it to sulfates (which are abundant in the sea) and returning the seawater to the
    ocean as “wash-water”. An independent, two-year scientific wash-water study confirmed that the
    Company's Advanced Air Quality Systems are a safe and effective means for compliance with the
    International Maritime Organization's (IMO) 2020 requirements, which include regulations for cleaner
    air emissions and strict washwater quality standards. The Company has Advanced Air Quality Systems
    installed on over 70 ships in its fleet. The AAQS wash water quality study referenced above (the
    “Carnival/DNVGL 2018 Addendum for Wash Water Quality”) evaluated 281 wash-water samples from 53
    Company ships equipped with the systems, creating the largest wash-water data set in the marine
    industry. When measured against IMO standards, the wash-water test results in this study were


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   significantly lower than maximum allowable levels. 12
                                                      In many cases, the materials were undetectable in
   the laboratory testing process. Additionally, the report compared the samples to selected national and
   international water quality benchmark standards, including the German Waste Water Ordinance, the EU
   Industrial Emissions Directive and the Surface Water Standards of the EU's Water Framework Directive.
   The World Health Organization's (WHO) drinking water guidelines were also evaluated. The Advanced
   Air Quality System test results compared favorably with the benchmark standards, demonstrating that
   the composition of the water was not only consistently below, but in most cases significantly below the
   most stringent limits.

   The Company, having already spent approximately $500 million on 230 systems across more than 70
   ships, has committed more than an additional $300 million to be invested in additional Advanced Air
   Quality units 2019-2022 to improve the engine exhaust quality. The additional funding will bring Carnival
   to over 360 systems on more than 80 ships.

   The Company tracks AAQS operational availability and has a goal of 90% availability. The Company also
   strives for a 90% usage rate where operation is allowed.


       Availability & New Usage Rate
       Fiscal year 2019 up to July 31




                                              3




   CO2e rate reduction efforts

   The Company set a goal several years ago to reduce its CO2 equivalent rate by 25% by 2020 relative to
   2005. That goal was met in 2018. Subsequently, Carnival set a rate reduction goal in line with the IMO
   of 40% CO2e reduction by 2030 relative to a 2008 baseline. Carnival tracks and reports CO2e rate
   annually.




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                                       12
        Review and Assessment of Environmental Objective:
        Reduce Greenhouse Gas (Carbon) Emissions


        • Reduce the intensity of CO2e (equivalent carbon dioxide) emissions from our operations by 25%
          by FY2020 relative to our 2005 baseline, measured in grams of CO2e per ALB-km




                                                                       Carnival Corporation – Proprietary
                                                      13                 and Confidential Information



   The Company has an active investment program in place to support ongoing CO2e rate reductions
   encompassing its new build program as well as upgrades and other improvements to its existing fleet.
   We were the first cruise company to commit to building LNG ships and delivered the first ever LNG
   cruise ship, the AIDAnova in 2018. We have 10 additional LNG ships on order. LNG produces
   approximately 25% less CO2 than traditional shipboard fuels.


   Single Diesel Generator in Port and Port Power Coefficient

   As part of the effort to reduce its carbon footprint, the Company has worked to be able to operate on a
   single engine in port. To do this, the Company has focused on lowering its in port electrical load.
   Similarly, the Company is focused on lowering the port power coefficient (in port electrical load divided
   by ship tonnage) of every ship above target. The Company has set targets of 90% of its time in port
   using a single engine and achieving a Port Power Coefficient of 65 and tracks these metrics weekly at the
   ship level.


   Shore Power Capability
   The Company leads the industry with 41 ships equipped with shore power capabilities that can “plug in”
   at certain port facilities in lieu of using the ship’s engines and fuel to generate power. Many Company
   ships are adding shore power capability. However, there are only a few ports worldwide that have made
   the necessary investment to provide shore power to support cruise ships.




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   Water use                           12

   Our ships use an average of 60 gallons of fresh water per person per day which is much less than the US
   average of 90 gallons per person per day. Additionally, our ships make over 75% of the water used
   onboard. Nonetheless, the Company set a goal to reduce the amount of water used by 5% by 2020
   relative to a 2015 baseline. Through 2018, the reduction has been 4.8%. This performance metric is
   tracked via the Maritime Operations Dashboard.


   Advanced Waste Water Treatment Systems (AWWTS)

   The Company has an aggressive plan to add AWWTS capability to approximately 40 ships over the next
   5-6 years. These systems treat sewage to a much higher effluent standard than is required by MARPOL
   with traditional Marine Sanitation Devices (MSD). The IMO has defined effluent standards required for
   a system to be designated as an AWWTS. Although the use of AWWTS is not required under MARPOL,
   some local or regional sewage discharge requirements necessitate AWWTS, such as in Alaska and the
   Baltic Sea. The Company’s investment in this area serves the purpose of creating operational flexibility
   while doing what we feel is the right thing to do.




                                                      11
